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                                                                                                   FILED
                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA                                NOV 1 4 2022
                                           Newport News Division

   PATRICIA E. MULLINEX,                                                                  c.LtMK, U.S. DISTRICT COURT
                                                                                                  NORFOLK, VA
   INDIVIDUALLY AND AS THE
   EXECUTOR OF THE ESTATE OF
   HERBERT H. MULLINEX,JR.,

                            Plaintiffs,

                    V.



   JOHN CRANE INC.,

                            Defendant.


                                                                             CIVIL ACTION NOS.
   DEBORAH J. LAUGHLIN,                                                            4:18-cv-33
   INDIVIDUALLY AND AS THE                                                         4:18-cv-132
   EXECUTOR OF THE ESTATE OF
   PATRICK A. LAUGHLIN,DECEASED AND
   JOYCE D. BLAYLOCK,AS SUBSTITUTE
   ANCILLARY ADMINISTIUVTOR OF THE
   ESTATE OF PATRICK A. LAUGHLIN,DECEASED

                            Plaintiffs,

                   V.




   JOHN CRANE INC.,

                            Defendant.



                                                   ORDER


          The parties have advised the Court that they have resolved their differences in the above-styled

  cases. Accordingly, the parties are ORDERED to file a stipulation of dismissal in each of the above-styled

  cases within ten (10) days from the date of this Order. The Court will retain jurisdiction to address any

  issues arising subsequent to the dismissal of the above styled-cases.

          The Clerk is DIRECTED to send a copy of this Order to the parties and all counsel of record.

          IT IS SO ORDERED.


  Newport News, Virginia
  November 14, 2022                                                   Raymond A(Jackson
                                                                      United States District Judge
